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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION



IN RE COBALT INTERNATIONAL ENERGY,
INC. SECURITIES LITIGATION                                       LEAD CASE NO. 4:14-cv-03428




                             DECLARATION OF RUSSELL C. LEWIS

                  1.      My name is Russell C. Lewis. I am over eighteen (18) years of age, of

sound mind, and have personal knowledge and am familiar with the matters stated herein.

                  2.      I am a partner of the law firm Baker Botts L.L.P. (“Baker Botts”), counsel
                                                                            ("Baker Botts"),

for Defendants Cobalt International Energy, Inc., James W. Farnsworth, Jack E. Golden, Jon A.

Marshall, Myles W. Scoggins, William P. Utt, John P. Wilkirson, and Martin H. Young, Jr. (the

        Defendants”).1
“Cobalt Defendants").1
"Cobalt

                  3.                                                          Defendants’
                          I submit this declaration to demonstrate the Cobalt Defendants'

compliance with the notice requirements of the Class Action Fairness Act of 2005, 28 U.S.C.

       (“CAFA”).
§ 1715 ("CAFA").

                  4.      On October 12, 2018, Plaintiffs filed their Notice of Motion (I) For

Preliminary Approval of Settlement Among Plaintiffs, Cobalt Individual Defendants, and Plan

Administrator on Behalf of Cobalt Debtors, (II) for Approval of Form Notice, and (III) to

Schedule Hearing Date.

                  5.      Pursuant to 28 U.S.C. § 1715(b), on October 19, 2018, the Cobalt

Defendants sent via certified mail a cover letter and certain accompanying documents (the
1
i Baker Botts also represents Peter R. Coneway, Henry Cornell, N. John Lancaster, Kenneth W. Moore, J. Hardy
Murchison, Kenneth A. Pontarelli, D. Jeff van Steenbergen, Scott L. Lebovitz, and Michael G. France in the above-
captioned suit.


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“CAFA Notice")
"CAFA Notice”) to the U.S. Attorney General and the appropriate government officials for each

of the fifty states and United States territories.

                  6.    Attached hereto as Exhibit A is a true and correct copy of the letter that

was mailed as described in paragraph 5.

                  7.    As required by 28 U.S.C. § 1715(b), the CAFA Notice enclosed copies of

the following documents: (i) the live complaint, which is the Second Consolidated Amended

Class Action Complaint (filed March 15, 2017), (ii) the original Complaint for Violations of the

Federal Securities Laws (filed November 30, 2014), (iii) the Consolidated Amended Class

Action Complaint (filed May 1, 2015), and (iv) the parties'
                                                   parties’ Stipulation and Agreement of

Settlement, including a proposed Order Preliminarily Approving Settlement and Providing for

Notice (Exhibit A); Notice of Proposed Settlement of Class Action (Exhibit A-1); Proof of Claim

and Release (Exhibit A-2); Summary Notice (Exhibit A-3); a proposed Judgment Approving

Class Settlement (Exhibit B); and the lead plaintiffs'
                                           plaintiffs’ Unopposed Motion for Preliminary

Approval of Settlement, Approval of Form of Notice, and to Schedule Hearing Date, and

Memorandum of Law in Support Thereof (all filed October 12, 2018).

                  8.    In response to the CAFA Notice, the Office of the Attorney General of the

State of Washington sent an email dated December 17, 2018, to Baker Botts acknowledging

receipt of the CAFA Notice. Attached hereto as Exhibit B is a true and correct copy of that

email.

                  9.    Other than the communication described in this Declaration, Baker Botts

has not received any other communications from the recipients of the CAFA Notice.

                  10.   To the best of my knowledge, the Cobalt Defendants have fully complied

with CAFA and have satisfied their obligations thereunder.




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                  11.   I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

         EXECUTED in Houston, Texas on the 17th day of January
                                                       Jany    2019.



                                             Russell C. Lewis




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                  Exhibit A
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                                                     ONE SHELL
                                                     ONE  SHELL PLAZA
                                                                PLAZA        AUSTIN
                                                                             AUSTIN           LONDON
                                                                                              LONDON
                                                     910 LOUISIANA
                                                     910 LOUISIANA           BEIJING
                                                                             BEIJING          MOSCOW
                                                                                              MOSCOW
BAKER BOTTS LL P                                     HOUSTON, TEXAS
                                                     HOUSTON,
                                                     77002-4995
                                                     77002-4995
                                                                 TEXAS       BRUSSELS
                                                                             BRUSSELS
                                                                             DALLAS
                                                                             DALLAS
                                                                                              NEW YORK
                                                                                              NEW   YORK
                                                                                              PALO ALTO
                                                                                              PALO  ALTO
                                                                             DUBAI
                                                                             DUBAI            RIYADH
                                                                                              RIYADH
                                                     TEL +1
                                                     TEL +1 713.229.1234
                                                            713.229.1234     HONG KONG
                                                                             HONG    KONG     SAN FRANCISCO
                                                                                              SAN  FRANCISCO
                                                     FAX +1
                                                     FAX +1 713.229.1522
                                                            713.229.1522     HOUSTON          WASHINGTON
                                                                                              WASHINGTON
                                                     BakerBotts.com
                                                     BakerBotts.com




October 19, 2018
                                                                             Russell Lewis
                                                                             Russell  Lewis
                                                                                  713.229.1767
                                                                             TEL: 713.229.1767
077051.0127                                                                  FAX: 713.229.2867
                                                                             russell.lewis@bakerbotts.com
                                                                             russell.lewis@bakerbotis.com
VIA CERTIFIED MAIL

 The Honorable Jeff Sessions
 Attorney General of the United States
 U.S. Department of Justice
 950 Pennsylvania Ave., NW
 Washington, D.C. 20530-0001

       Re:     Notice Pursuant to 28 U.S.C. § 1715 of Proposed Settlement in In re Cobalt
               International Energy, Inc. Securities Litigation; Lead Case No. 4:14-cv-03428, in
               the United States District Court for the Southern District of Texas, Houston
               Division

Dear Attorney General Sessions:

                 Cobalt International Energy, Inc., by and through Nader Tavakoli, solely in his
capacity as Lead Member and Chairman of the Plan Administrator Committee of Cobalt
International Energy, Inc., et al., Joseph H. Bryant, James W. Farnsworth, Jack E. Golden, Jon A.
Marshall, Myles W. Scoggins, William P. Utt, John P. Wilkirson, and Martin H. Young, Jr.
                    “Cobalt Settling Defendants")
(collectively, the "Cobalt           Defendants”) notify you, pursuant to the Class Action Fairness
                                 1711–1715, that lead plaintiffs GAMCO Global Gold, Natural
Act of 2005, 28 U.S.C. §§ 1711-1715,
Resources & Income Trust and GAMCO Natural Resources, Gold & Income Trust, additional
plaintiffs St. Lucie County Fire District Firefighters'
                                           Firefighters’ Pension Trust Fund, Fire and Police Retiree
Health Care Fund, San Antonio, Sjunde AP-Fonden, and Universal Investment Gesellschaft
m.b.H., and the Cobalt Settling Defendants have filed with the Court a proposed settlement of this
class action. The Cobalt Settling Defendants deny any wrongdoing or liability but have decided
to settle this action recognizing that there is uncertainty and risk in any complex litigation and that
further litigation would be protracted and expensive.

              The following documents, which are contained on the enclosed CD, more fully
describe the matter and settlement:

       1. The live complaint, which is the Second Consolidated Amended Class Action
          Complaint (filed March 15, 2017), as well as all prior complaints filed in this matter:
          the original Complaint for Violations of the Federal Securities Laws (filed November
          30, 2014) and the Consolidated Amended Class Action Complaint (filed May 1, 2015).
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BAKER BOTTS
The Honorable Jeff Sessions                        -2-                               October 19, 2018

           2. The parties'
                   parties’ Stipulation and Agreement of Settlement, including a proposed Order
              Preliminarily Approving Settlement and Providing for Notice (Exhibit A); Notice of
              Proposed Settlement of Class Action (Exhibit A-1); Proof of Claim and Release
              (Exhibit A-2); Summary Notice (Exhibit A-3); a proposed Judgment Approving Class
              Settlement (Exhibit B); and the lead plaintiffs'
                                                   plaintiffs’ Unopposed Motion for Preliminary
              Approval of Settlement, Approval of Form of Notice, and to Schedule Hearing Date,
              and Memorandum of Law in Support Thereof (all filed October 12, 2018).

If you are unable to access any of the documents on the enclosed CD, or if you prefer to receive
paper copies of these documents, please contact Russell Lewis.

                This notice and the enclosed materials satisfy the Cobalt Settling Defendants'
                                                                                       Defendants’
notification obligations pursuant to the Class Action Fairness Act with respect to this action. The
enclosed complaints satisfy 28 U.S.C. § 1715(b)(1), and the enclosed documents filed October 12,
2018 satisfy § 1715(b)(3)-(5).

               A hearing on the preliminary approval and fairness of the proposed settlement has
been scheduled for November 1, 2018 at 10:00 a.m. CT, at the United States District Court for
the Southern District of Texas, United States Courthouse, 515 Rusk Avenue, Houston, Texas
77002. See id. § 1715(b)(2). In addition, a hearing on the final approval of the proposed settlement
has been scheduled for January 28, 2019 at 10:00 a.m. CT, at the United States District Court
for the Southern District of Texas, United States Courthouse, 515 Rusk Avenue, Houston, Texas
77002. See id.

               There are currently no written judicial opinions related to the materials described
in § 1715(b)(3)-(6), nor has any final judgment or notice of dismissal been filed at this time. See
id. § 1715(b)(6), (8).

               Because the settlement class has not yet been certified and potential class members
have not yet submitted claim forms, it is not feasible for the Cobalt Settling Defendants to provide:
(a) the names of class members who reside in each state; (b) a reasonable estimate of the number
of class members residing in each state; or (c) a reasonable estimate of the proportionate share of
the claims of class members residing in each state to the entire settlement. See id. § 1715(b)(7).
Class members who properly submit valid claim forms will receive a recovery as described in the
enclosed Stipulation and Agreement of Settlement.

              We submit this notice on behalf of the Cobalt Settling Defendants. If you have any
questions about it, the lawsuit, or the enclosed materials, please do not hesitate to contact counsel
below.




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BAKER BOTTS
The Honorable Jeff Sessions                      -3-                             October 19, 2018

                                            Sincerely,



  /s/
  /5/ Shari L. Heyen                            /s/ Russell C. Lewis
                                                /s/
 Shari L. Heyen                                Russell C. Lewis
 Greenberg Traurig, LLP                        Baker Botts LLP
 1000 Louisiana, Suite 1700                    910 Louisiana Street
 Houston, TX 77002                             One Shell Plaza
 Telephone: (713) 374-3500                     Houston, TX 77002
 Facsimile: (713) 374-3505                     Telephone: (713) 229-1767
                                               Facsimile: (713) 229-2867
          for Nader Tavakoli, solely in his
 Attorneyfor
 capacity as Lead Member and Chairman of    of Attorneyfor
                                                        for Defendants James W.W. Farnsworth,
 the Plan Administrator Committee ofof Cobalt Jack E. Golden, Jon A. Marshall, Myles W. W.
 International Energy, Inc., et al.            Scoggins, William
                                                          William P. Utt, John P. Wilkirson,
                                                                                  Wilkirson, and
                                               Martin H. Young, Jr., and Cobalt International
                                               Energy, Inc.


                                                /s/ Karl S. Stern
                                                Is/
                                               Karl S. Stern
                                                       Stem
                                               Quinn Emanuel Urquhart & Sullivan, LLP
                                               Pennzoil Place
                                               711 Louisiana St., Suite 500
                                               Houston, TX 77002
                                               Telephone: (713) 221-7000
                                               Facsimile: (713) 221-7100

                                                        for Joseph H. Bryant
                                               Attorneyfor



Enclosures




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                   Exhibit B
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From:
From:                            ATG MI
                                 ATG     WA CAFA-PrivateCP
                                      MI WA   CAFA-PrivateCP Lawsuits
                                                             Lawsuits <privatecpa@ATG.WA.GOV>
                                                                      <privatecpa@ATG.WA.GOV>
Sent:
Sent:                            Monday, December
                                 Monday,  December 17,
                                                    17, 2018
                                                        2018 12:35  PM
                                                              12:35 PM
To:
To:                              Lewis, Russell
                                 Lewis, Russell
Subject:
Subject:                         RE: Matter
                                 RE: Matter #
                                            # 10822933, In Re
                                              10822933, In Re Cobalt
                                                              Cobalt International
                                                                     International Energy,
                                                                                   Energy, Inc
                                                                                           Inc Securities Litigation
                                                                                               Securities Litigation




Sent on
Sent on behalf
        behalf of
               of Assistant
                  Assistant Attorney
                            Attorney General
                                     General Amy
                                             Amy Teng:
                                                 Teng:

Dear Mr.
Dear Mr. Lewis:
         Lewis:

This message
This message acknowledges
              acknowledges that
                            that we  have received
                                  we have  received notice
                                                    notice from
                                                           from you
                                                                 you regarding
                                                                     regarding the
                                                                               the above
                                                                                   above mentioned
                                                                                         mentioned
case pursuant
case pursuant to
              to the
                 the Class
                     Class Action
                           Action Fairness
                                  Fairness Act
                                           Act of
                                               of 2005, 28 U.S.0
                                                  2005, 28  U.S.C §
                                                                  § 1715
                                                                    1715 (CAFA).
                                                                         (CAFA).

Thank you
Thank you for
          for bringing this matter
              bringing this matter to
                                   to the
                                      the attention
                                          attention of
                                                    of the
                                                       the Washington
                                                           Washington State
                                                                      State Attorney
                                                                            Attorney General's
                                                                                     General’s Office,
                                                                                               Office,
Consumer Protection
Consumer  Protection Division.
                     Division.

Sincerely,
Sincerely,

Donnelle
DonneCCe Brooke
         Brooke
Paralegal
Office of the Attorney General
Consumer Protection Division
Phone-206-464-6562




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